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MINUTE ENTRY
MILAZZO, J.
May 15, 2020

JS-10:03:00

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                  )    MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION                )
                                             )    SECTION: “H” (5)
                                             )
This document relates to all cases           )


                                 MINUTE ENTRY

      On May 15, 2020, the Court held a show cause hearing. Certain participants

appeared via video: Claire E. Berg, Palmer Lambert, Dawn Barrios, Julie Callsen,

Nicholas Insogna, and Kelly Brilleaux. Other participants appeared via telephone.

      Court Reporter:      Jodi Simcox

      Law Clerk:           Samantha Schott

      IT IS ORDERED that the cases listed in the attached Exhibit A, titled “Non-

Compliance Dismissal List,” are DISMISSED WITH PREJUDICE based on

stipulations filed by counsel;

      IT IS FURTHER ORDERED that the cases listed in the attached Exhibit B,

titled “Non-Compliance Declarations List,” in addition to the cases of Emma Smith,

17-11568, and Mary Ann Levy, 17-13501, are DISMISSED WITH PREJUDICE;

      IT IS FURTHER ORDERED that the cases listed in the attached Exhibit C,

titled “Non-Compliance Statement List,” are DISMISSED WITH PREJUDICE;
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       IT IS FURTHER ORDERED that the following cases from the call docket

are DISMISSED WITH PREJUDICE for reasons stated on the record:

   •   17-16237    Juanita Black-Roberson



       IT IS FURTHER ORDERED that the Court will conduct the remainder of

the show cause hearing on May 18, 2020 at 1:00 p.m.




                                        HON. JANE TRICHE MILAZZO
                                        UNITED STATES DISTRICT JUDGE




                                        2
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                                                                       May 15, 2020
                                                                                                                                                      EXHIBIT A
                                                                Non Compliance Dismissal List

                                                                                         Defendant
#            Last Name    First Name   MDL Docket No. Non-Compliance Description                           Plaintiff’s Counsel        Filed Date     Docket No
                                                                                             List
1    Albino              Digna         2:19-cv-14333   No Signed/Verified PFS           sanofi       Fears | Nachawati              5/8/2020       10190

2    Boyd                Carolyn       2:19-cv-13444   No Signed/Verified PFS           sanofi       Cutter Law PC                  5/6/2020       10136

3    Davis               Carolyn       2:19-cv-13925   No Signed/Verified PFS           sanofi       Baron & Budd                   5/11/2020      10361

4    Gordon-Jones        Danyelle      2:19-cv-14498   No Signed/Verified PFS           sanofi       Fears | Nachawati              5/8/2020       10180

5    Griffith            Marion        2:19-cv-14492   No Signed/Verified PFS           sanofi       Fears | Nachawati              4/29/2020      10063

6    Grunwell            Karon         2:19-cv-14558   No Signed/Verified PFS           sanofi       Fears | Nachawati              4/29/2020      10055

7    Johnson             Sherri        2:19-cv-13851   No Signed/Verified PFS           sanofi       Pulaski Law Firm, PLLC         5/4/2020       10099

8    Leblanc Young       Lisa          2:19-cv-14295   No Signed/Verified PFS           sanofi       Fears | Nachawati              5/8/2020       10185

9    London              Earlene       2:18-cv-11630   PFS Not Substantially Complete 505            Shaw Cowart, LLP               5/11/2020      10332

10   Mills               Andrea        2:19-cv-13880   No Signed/Verified PFS           sanofi       Pulaski Law Firm, PLLC         4/29/2020      10057

11   Myers               Sharon        2:19-cv-14281   No Signed/Verified PFS           sanofi       Fears | Nachawati              5/9/2020       10272

12   Phillips            Delores       2:19-cv-14550   No Signed/Verified PFS           sanofi       Fears | Nachawati              5/8/2020       10188

13   Polhamus            Roberta       2:19-cv-12716   No Signed/Verified PFS           sanofi       The Maher Law Firm, PA         5/11/2020      10365

14   Potts               Annie         2:19-cv-14377   No Signed/Verified PFS           sanofi       Fears | Nachawati              5/11/2020      10336

15   Proctor             Tina          2:17-cv-16662   PFS Not Substantially Complete sanofi         Brent Coon & Associates        5/12/2020      10386

16   Rogers              Olivette      2:19-cv-14224   No Signed/Verified PFS           sanofi       Fears | Nachawati              4/29/2020      10069

17   Rossi-Leonhard      Dolly         2:19-cv-14505   No Signed/Verified PFS           sanofi       Fears | Nachawati              5/5/2020       10109

18   Ruth                Joanne        2:19-cv-14239   No Signed/Verified PFS           sanofi       Fears | Nachawati              4/29/2020      10066

19   Shappell            Dorothy       2:17-cv-16412   PFS Not Substantially Complete sanofi         Allen & Nolte, PLLC            5/8/2020       10186
                                                                                                     (Previously The Mulligan Law
                                                                                                     Firm)
20   Spikes (Ramos)      Ermogene      2:19-cv-14483   No Signed/Verified PFS           sanofi       Fears | Nachawati              5/9/2020       10279
                         (Diedre)




                                                                                                                                                                 Page 1
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                                                           Non Compliance Dismissal List

                                                                                    Defendant
#       Last Name    First Name   MDL Docket No. Non-Compliance Description                           Plaintiff’s Counsel     Filed Date     Docket No
                                                                                        List
21   Weeks          Vicky         2:19-cv-14420   No Signed/Verified PFS           sanofi       Fears | Nachawati           5/5/2020       10107

22   Wolsky         Dale          2:19-cv-14409   No Signed/Verified PFS           sanofi       Fears | Nachawati           5/8/2020       10154




                                                                                                                                                         Page 2
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                                                                       May 15, 2020                                                                  EXHIBIT B
                                                                Non Compliance Declarations List

                                                                                    Defendant
#      Last Name     First Name   MDL Docket No.    Non-Compliance Description                            Plaintiff’s Counsel        Date          Docket No
                                                                                        List
1    Applestein    Judith         2:19-cv-14288    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10191

2    Arbeiter      Susan          2:19-cv-13794    No Signed/Verified PFS          sanofi          Pulaski Law Firm, PLLC       4/13/2020   9928

3    Arnold        Mary           2:19-cv-14231    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10192

4    Arthur        Teresa         2:18-cv-12765    PFS Not Complete - Shell PFS    sanofi          Niemeyer, Grebel & Kruse     5/11/2020   10385

5    Barnes        Shanda         2:19-cv-14510    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10202; 10194

6    Benko         Sandra         2:19-cv-14158    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10203; 10195

7    Biach         Sharon         2:19-cv-14012    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10204; 10196

8    Brown         Keesha         2:19-cv-13611    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC       5/11/2020   10357
                                                                                   and 505
9    Bruno         Colette        2:19-cv-14113    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10205; 10197

10   Burdell       Donna          2:17-cv-09600    PFS Not Substantially Complete sanofi           Davis & Crump, P. C.         5/11/2020   10333

11   Claytor       Letitia        2:19-cv-13360    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC       5/11/2020   10358
                                                                                   and 505
12   Cordero       Iris           2:19-cv-14347    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10201

13   Cruz          Lidia          2:19-cv-14576    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10207

14   Curran        Elaine         2:19-cv-14564    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10208

15   Dahl          Sharon         2:19-cv-13230    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC       5/11/2020   10364
                                                                                   and 505
16   Davis         Ozzie          2:19-cv-13228    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC       5/8/2020    10173
                                                                                   and 505
17   Davis         Patricia       2:19-cv-14345    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10209

18   Delphant      Andrea         2:19-cv-14370    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10210

19   Deutsch       Marilyn        2:19-cv-14575    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10211

20   Dewitt        Alice          2:19-cv-14389    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10212

21   Diamondopoul Juanita         2:19-cv-13486    No Signed/Verified PFS          sanofi          Bachus & Schanker, LLC       5/11/2020   10368
     os-Guillen

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                                                                                     Defendant
#      Last Name      First Name   MDL Docket No.    Non-Compliance Description                            Plaintiff’s Counsel        Date          Docket No
                                                                                        List
22   Dickson        Latrice        2:19-cv-13291    No Signed/Verified PFS          505             Bachus & Schanker, LLC       5/11/2020   10369

23   Freo           Lisa           2:19-cv-13837    No Signed/Verified PFS          sanofi          Pulaski Law Firm, PLLC       4/15/2020   9962

24   Frick          Nancy          2:19-cv-14518    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10214

25   Gissendanner   Nonna          2:19-cv-14248    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10215

26   Graddy         Lisha          2:19-cv-14235    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10216

27   Habersham      Sarah          2:19-cv-14577    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10217

28   Harrison       Ilene          2:19-cv-13487    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC       5/11/2020   10371
                                                                                    and 505
29   Hartman        Bridgett       2:19-cv-14044    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/8/2020    10218

30   Herron         Oretha         2:19-cv-13655    No Signed/Verified PFS          sanofi          Francolaw, PLLC              5/11/2020   10354

31   Horn           Dixie          2:19-cv-14110    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10219

32   Howard         Oretha         2:19-cv-14466    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10220

33   Hughes         Kathleen       2:19-cv-13958    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10221

34   Hughes         Pamela         2:19-cv-13797    No Signed/Verified PFS          sanofi          Bachus & Schanker, LLC       5/11/2020   10372

35   Johnson        Patricia       2:19-cv-14570    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10222

36   Katz           Gayle          2:19-cv-13854    No Signed/Verified PFS          Both sanofi     Pulaski Law Firm, PLLC       4/13/2020   9925
                                                                                    and 505
37   Lagarenne      Nicoletta      2:19-cv-14024    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10223

38   Lane-Mosley    Carol          2:18-cv-12494    No Signed/Verified PFS          sanofi          Bachus & Schanker, LLC       5/11/2020   10375

39   Lawson         Evelyn         2:19-cv-14473    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10224

40   Macneal        Annamaria      2:19-cv-13275    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC       5/11/2020   10376
                                                                                    and 505
41   Marks          Judith         2:19-cv-14474    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10225

42   Martinez       Lydia          2:19-cv-14274    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10226


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                                                                                    Defendant
#      Last Name     First Name   MDL Docket No.    Non-Compliance Description                            Plaintiff’s Counsel             Date          Docket No
                                                                                        List
43   Matteson      Renae          2:19-cv-13870    No Signed/Verified PFS          Both sanofi     Pulaski Law Firm, PLLC            4/13/2020   9926
                                                                                   and 505
44   Maxwell       Donna          2:19-cv-14475    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10227

45   Mccall        Tonya          2:19-cv-14476    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10228

46   Mclaurin      Judy           2:19-cv-14540    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10229

47   Miguel        Mirtha         2:19-cv-14278    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10230

48   Milhouse      Marilyn        2:19-cv-13947    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC            5/11/2020   10377
                                                                                   and 505
49   Miller        Penny          2:19-cv-13462    No Signed/Verified PFS          sanofi          Cutter Law PC                     5/6/2020    10137

50   Miller        Sandra         2:19-cv-13878    No Signed/Verified PFS          Both sanofi     Pulaski Law Firm, PLLC            4/13/2020   9927
                                                                                   and 505
51   Miller        Sandra         2:19-cv-14020    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/8/2020    10187

52   Miranda       Jennifer       2:19-cv-14459    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10231

53   Mitchell      Clara          2:19-cv-14562    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10232

54   Mojica        Stacy          2:19-cv-13463    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC            5/11/2020   10378
                                                                                   and 505
55   Molck         Barbara        2:19-cv-13882    No Signed/Verified PFS          sanofi          Pulaski Law Firm, PLLC            5/11/2020   10330

56   Molette       Adrian         2:19-cv-13276    No Signed/Verified PFS          sanofi          Bachus & Schanker, LLC            5/11/2020   10380

57   Moon-Brumley Majel           2:19-cv-14418    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10233

58   Morgan        Colleen        2:19-cv-13805    No Signed/Verified PFS          sanofi          Bachus & Schanker, LLC            5/11/2020   10381

59   Noceda        Marilyn        2:19-cv-14488    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10234

60   Nunez         Alicia         2:19-cv-14543    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10236

61   Otten         Patricia       2:19-cv-13166    No Signed/Verified PFS          sanofi          Kennedy Hodges, LLP               5/8/2020    10206

62   Palmer        Latrina        2:19-cv-14282    No Signed/Verified PFS          sanofi          Fears | Nachawati                 5/9/2020    10236

63   Papajohn      Colleen E      2:17-cv-16380    PFS Not Substantially Complete sanofi           Allen & Nolte, PLLC (Previously   5/12/2020   10387
                                                                                                   The Mulligan Law Firm)

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                                                                                   Defendant
#      Last Name    First Name   MDL Docket No.    Non-Compliance Description                            Plaintiff’s Counsel        Date       Docket No
                                                                                       List
64   Patterson     Brenda        2:19-cv-14293    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10237

65   Perez         Teresa        2:19-cv-13435    No Signed/Verified PFS          Both sanofi     Bachus & Schanker, LLC       5/11/2020   10382
                                                                                  and 505
66   Phebus        Jan           2:19-cv-13997    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10238

67   Pickens       Allison       2:19-cv-14485    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10239

68   Pierce        Crystal       2:19-cv-12570    No Signed/Verified PFS          505             Bachus & Schanker            5/11/2020   10383

69   Porteaous     Dianne        2:19-cv-14348    No Signed/Verified PFS          sanofi          Bachus & Schanker, LLC       5/11/2020   10384

70   Prado         Teresita      2:19-cv-14557    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10240

71   Rabenberg     Sheila        2:19-cv-14286    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10241

72   Richardson    Linda         2:19-cv-13986    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10242

73   Robare        Pamela        2:19-cv-14008    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10243

74   Russ          Melba         2:19-cv-14238    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10244

75   Sadler        Tina          2:19-cv-14497    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10245

76   Savvides      Asimina       2:19-cv-14489    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10246

77   Schacht-      Linda         2:19-cv-14000    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10247
     Umberger
78   Schroeder     Michelle      2:19-cv-14486    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10248

79   Seidl         Sherry        2:19-cv-14065    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10249

80   Shaw          Kathleen      2:19-cv-14188    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10250

81   Shifflet      Tammy         2:19-cv-14490    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10251

82   Shockley      Cecelia       2:19-cv-14375    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10252

83   Sigurdson     Lori          2:19-cv-14197    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10253

84   Smith         Tonneshia     2:19-cv-14532    No Signed/Verified PFS          sanofi          Fears | Nachawati            5/9/2020    10254


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                                                                                     Defendant
#      Last Name    First Name    MDL Docket No.    Non-Compliance Description                             Plaintiff’s Counsel        Date          Docket No
                                                                                         List
85   Snead         Tonette       2:19-cv-14501     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10255

86   Tarter        Leaetta       2:19-cv-14442     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10256

87   Taylor        Deborah       2:19-cv-14566     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10257

88   Thompson      Regina        2:19-cv-10901     No Signed/Verified PFS           505             Bachus & Schanker, LLC       5/8/2020    10157 (DOCKET #
                                                                                                                                             TYPO)
89   Wade-Moore    Deborah       2:19-cv-14015     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10258

90   Walden        Pearlie       2:19-cv-13921     No Signed/Verified PFS           Both sanofi     Pulaski Law Firm, PLLC       4/15/2020   9961
                                                                                    and 505
91   Walker        Elizabeth     2:19-cv-13926     No Signed/Verified PFS           Both sanofi     Pulaski Law Firm, PLLC       4/17/2020   9979
                                                                                    and 505
92   Wallace       Annie         2:19-cv-14219     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10259

93   West          Melinda       2:19-cv-13934     No Signed/Verified PFS           Both sanofi     Pulaski Law Firm, PLLC       5/11/2020   10362
                                                                                    and 505
94   Wilkison      Roxann        2:19-cv-13968     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10260

95   Wilson        Frances       2:19-cv-14541     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10261

96   Wilson        Harriet       2:19-cv-14368     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10262

97   Woods         Ella          2:18-cv-12650     PFS Not Substantially            505             Atkins & Markoff             5/11/2020   10341; 9641
                                                   Complete; No Authorizations;
                                                   No CMO 12A; No PTO 71A
98   Youmas        Jacqueline    2:19-cv-14544     No Signed/Verified PFS           sanofi          Fears | Nachawati            5/9/2020    10264




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                                                                                                                                         EXHIBIT C
                                                          Non Compliance Statement List

                                                                                                              Plaintiff’s
#      Last Name         First Name   MDL Docket No.     Non-Compliance Description        Defendant List                       Filed      Docket
                                                                                                               Counsel
1    Adeniji       Moriam             2:19-cv-13533    No Signed/Verified PFS             Both sanofi and   Bachus &        5/8/2020    10177
                                                                                          505               Schanker, LLC
2    Alvarez       Adriana            2:19-cv-14253    No Signed/Verified PFS             sanofi            Fears |         5/8/2020    10366
                                                                                                            Nachawati
3    Barber        Denise             2:19-cv-14571    No Signed/Verified PFS             sanofi            Fears |         5/11/2020   10339
                                                                                                            Nachawati
4    Barnhart      Betty              2:19-cv-13767    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10178
                                                                                                            Schanker, LLC
5    Beckham       Betty              2:19-cv-13727    No Signed/Verified PFS             Both sanofi and   Bachus &        5/8/2020    10176
                                                                                          505               Schanker, LLC
6    Bejarano      Maria              2:19-cv-14157    No Signed/Verified PFS             sanofi            Bachus &        5/11/2020   10356
                                                                                                            Schanker, LLC
7    Billingsley   Janet              2:18-cv-06149    PFS Not Complete - Shell PFS       sanofi            Morris Bart,    5/9/2020    10280
                                                                                                            LLC
8    Brandon       Darlyne            2:19-cv-13645    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10175
                                                                                                            Schanker, LLC
9    Buth          Michelle           2:19-cv-14338    No Signed/Verified PFS             sanofi            Fears |         5/9/2020    10265
                                                                                                            Nachawati
10   Cash          Carol              2:19-cv-14546    No Signed/Verified PFS             sanofi            Fears |         5/8/2020    10199
                                                                                                            Nachawati
11   Clark         Linda              2:19-cv-13491    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10174
                                                                                                            Schanker, LLC
12   Creal         Ruby Ellen         2:18-cv-05845    PFS Not Complete - Shell PFS       sanofi            Morris Bart,    5/9/2020    10281
                                                                                                            LLC
13   Donofrio      Melodey            2:17-cv-14346    PFS Not Substantially Complete     sanofi            Brown &         5/11/2020   10350
                                                                                                            Crouppen
14   Duncan        Mignonette         2:19-cv-00015    No PTO 71A                         sanofi            Fears |         5/10/2020   10324
                                                                                                            Nachawati
15   Duran         Luz                2:19-cv-13508    No Signed/Verified PFS             505               Bachus &        5/8/2020    10172
                                                                                                            Schanker, LLC
16   Edgar-Watson Toni                2:19-cv-13643    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10171
                                                                                                            Schanker, LLC
17   Fagan         Cindy              2:19-cv-13428    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10170
                                                                                                            Schanker, LLC
18   Fleming       Leighann           2:19-cv-13737    No Signed/Verified PFS             Both sanofi and   Bachus &        5/11/2020   10370
                                                                                          505               Schanker, LLC
19   Fodera        Theresa            2:18-cv-12406    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10169
                                                                                                            Schanker, LLC

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                                                                                                                 Plaintiff’s
#      Last Name            First Name   MDL Docket No.     Non-Compliance Description        Defendant List                       Filed      Docket
                                                                                                                  Counsel
20   Franklin        Ann                 2:19-cv-13362    No Signed/Verified PFS             Both sanofi and   Bachus &        5/8/2020    10168
                                                                                             505               Schanker, LLC
21   Freeman         Teresa              2:19-cv-14392    No Signed/Verified PFS             sanofi            Fears |         5/11/2020   10363
                                                                                                               Nachawati
22   Garcia          Minerva             2:19-cv-14373    No Signed/Verified PFS             sanofi            Fears |         5/9/2020    10266
                                                                                                               Nachawati
23   Gehr            English             2:19-cv-14304    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10167
                                                                                                               Schanker, LLC
24   Gray            Nona                2:19-cv-14487    No Signed/Verified PFS             sanofi            Fears |         5/10/2020   10327
                                                                                                               Nachawati
25   Hartwell        Barbara             2:19-cv-13257    PFS Not Substantially Complete;    505               Bachus &        5/10/2020   10166
                                                          No Authorizations; No CMO 12A;                       Schanker, LLC
                                                          No PTO 71A
26   Hay             Lori                2:19-cv-14042    No Signed/Verified PFS             sanofi            Fears |         5/9/2020    10267
                                                                                                               Nachawati
27   Hines-Shaw      Deidre              2:19-cv-14381    No Signed/Verified PFS             sanofi            Fears |         5/9/2020    10268
                                                                                                               Nachawati
28   Hodges          Valerie             2:19-cv-12483    No Signed/Verified PFS             Both sanofi and   Bachus &        3/19/2020   9610
                                                                                             505               Schanker, LLC
29   James           Betty               2:19-cv-13994    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10165
                                                                                                               Schanker, LLC
30   James           Peggy               2:19-cv-13492    No Signed/Verified PFS             Both sanofi and   Bachus &        5/11/2020   10373
                                                                                             505               Schanker, LLC
31   Jerkins         Inez                2:19-cv-14141    No Signed/Verified PFS             sanofi            The Goss Law    5/13/2020   10390
                                                                                                               Firm
32   Johnson         Mildred             2:18-cv-06172    PFS Not Complete - Shell PFS       sanofi            Morris Bart,    5/9/2020    10282
                                                                                                               LLC
33   Knight          Flora               2:19-cv-14335    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10164
                                                                                                               Schanker, LLC
34   Lacy            Brenda              2:19-cv-14030    No Signed/Verified PFS             sanofi            Fears |         5/9/2020    10269
                                                                                                               Nachawati
35   Lavoie-Serota   Cheryl              2:19-cv-14252    No Signed/Verified PFS             sanofi            Fears |         5/9/2020    10270
                                                                                                               Nachawati
36   Linares         Lilliana            2:19-cv-13234    No Signed/Verified PFS             sanofi            Bachus &        5/8/2020    10163
                                                                                                               Schanker, LLC
37   Lopes           Melissa             2:19-cv-14324    No Signed/Verified PFS             sanofi            Bachus &        3/18/2020   9596
                                                                                                               Schanker, LLC


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                                                                                                                Plaintiff’s
#      Last Name          First Name   MDL Docket No.     Non-Compliance Description        Defendant List                        Filed      Docket
                                                                                                                 Counsel
38   Martin        Flora               2:17-cv-11247    PFS Not Substantially Complete     sanofi            Johnson Law      4/1/2020    9486
                                                                                                             Group
39   Martin        Viola               2:18-cv-06010    PFS Not Substantially Complete     505               Morris Bart,     5/9/2020    10284
                                                                                                             LLC
40   Mayberry      Tracy               2:19-cv-13542    No Signed/Verified PFS             sanofi            Bachus &         5/8/2020    10162
                                                                                                             Schanker, LLC
41   Miles         Jean                2:19-cv-13470    No Signed/Verified PFS             Both sanofi and   Bachus &         5/8/2020    10179
                                                                                           505               Schanker, LLC
42   Miller        Barbara             2:18-cv-10571    PFS Not Substantially Complete     sanofi            Fears |          5/11/2020   10340
                                                                                                             Nachawati
43   Montalbano    Sharon              2:17-cv-14154    PFS Not Substantially Complete     sanofi            Fears |          5/9/2020    10271
                                                                                                             Nachawati
44   Moses         Aretha              2:19-cv-14071    No Signed/Verified PFS             sanofi            Fears |          5/10/2020   10326
                                                                                                             Nachawati
45   Munro         Sharon              2:19-cv-13964    No Signed/Verified PFS             sanofi            Bachus &         5/8/2020    10161
                                                                                                             Schanker, LLC
46   Napolitano    Helen               2:19-cv-14247    No Signed/Verified PFS             sanofi            Fears |          5/9/2020    10273
                                                                                                             Nachawati
47   Oade          Gayle               2:19-cv-14511    No Signed/Verified PFS             sanofi            Fears |          5/9/2020    10274
                                                                                                             Nachawati
48   Peck-Kennedy Phyllis              2:19-cv-14091    No Signed/Verified PFS             sanofi            Bachus &         5/8/2020    10181
                                                                                                             Schanker, LLC
49   Perot         Jontue              2:17-cv-12590    PFS Not Substantially Complete     sanofi            Fernelius        5/11/2020   10374
                                                                                                             Simon PLLC
50   Pines         Carolyn             2:19-cv-13438    No Signed/Verified PFS             Both sanofi and   Bachus &         5/8/2020    10160
                                                                                           505               Schanker, LLC
51   Potter-       Calen               2:19-cv-14561    No Signed/Verified PFS             sanofi            Fears |          5/9/2020    10275
     Valmond                                                                                                 Nachawati
52   Powell        Judy                2:19-cv-14171    No Signed/Verified PFS             sanofi            Bachus &         5/8/2020    10182
                                                                                                             Schanker, LLC
53   Richardson    Ondria              2:19-cv-14140    No Signed/Verified PFS             sanofi            The Goss Law     5/13/2020   10400
                                                                                                             Firm
54   Roman         Martha              2:19-cv-14142    No Signed/Verified PFS             sanofi            The Goss Law     5/13/2020   10396
                                                                                                             Firm
55   Rorabeck      Deborah             2:19-cv-14161    No Signed/Verified PFS             sanofi            Bachus &         5/8/2020    10183
                                                                                                             Schanker, LLC
56   Scott         Jennie              2:19-cv-01553    PFS Not Substantially Complete     sanofi            Morris Bart,     5/9/2020    10285
                                                                                                             LLC

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#      Last Name          First Name   MDL Docket No.     Non-Compliance Description        Defendant List                          Filed      Docket
                                                                                                                 Counsel
57   Segner        Mary                2:19-cv-14386    No Signed/Verified PFS             sanofi            Fears |            5/9/2020    10276
                                                                                                             Nachawati
58   Sims          Delvia              2:19-cv-14083    No Signed/Verified PFS             sanofi            Bachus &           5/8/2020    10184
                                                                                                             Schanker, LLC
59   Sims          Iris                2:19-cv-13439    No Signed/Verified PFS             Both sanofi and   Bachus &           5/8/2020    10159
                                                                                           505               Schanker, LLC
60   Sims          Rita                2:17-cv-01844    PFS Not Substantially Complete     sanofi            Bachus &           5/11/2020   10379
                                                                                                             Schanker, LLC
61   Stephens      Christine           2:19-cv-14156    No Signed/Verified PFS             sanofi            Bachus &           5/8/2020    10158
                                                                                                             Schanker, LLC
62   Stutts        Linda               2:19-cv-14226    No Signed/Verified PFS             sanofi            Fears |            5/10/2020   10328
                                                                                                             Nachawati
63   Thomas        Karissa             2:19-cv-13992    No Signed/Verified PFS             sanofi            Fears |            5/9/2020    10277
                                                                                                             Nachawati
64   Thrasher      Wanda               2:19-cv-13080    No Signed/Verified PFS             sanofi            Bachus &           5/8/2020    10156
                                                                                                             Schanker, LLC
65   Tuner         Penny L             2:17-cv-14072    PFS Not Substantially Complete     sanofi            Peterson &         5/8/2020    10193
                                                                                                             Associates, P.C.

66   Vallejo       Joanne              2:19-cv-13982    No Signed/Verified PFS             sanofi            Fears |            5/11/2020   10343
                                                                                                             Nachawati
67   Walker        Pamela              2:18-cv-11003    PFS Not Substantially Complete;    505               Fears |            5/11/2020   10359
                                                        No PTO-71A                                           Nachawati
68   Waugh         Teresa              2:19-cv-14358    No Signed/Verified PFS             sanofi            Bachus &           5/8/2020    10155
                                                                                                             Schanker, LLC
69   Whittle       Pamela              2:18-cv-06187    PFS Not Complete - Shell PFS       sanofi            Morris Bart,       5/11/2020   10342; 10283
                                                                                                             LLC
70   Williams      Loretta             2:19-cv-14082    No Signed/Verified PFS             sanofi            Bachus &           5/8/2020    10153
                                                                                                             Schanker, LLC
71   Woodrum       Peggy               2:19-cv-14266    No Signed/Verified PFS             sanofi            Bachus &           5/8/2020    10152
                                                                                                             Schanker, LLC
72   Woodward      Deborah             2:19-cv-14454    No Signed/Verified PFS             sanofi            Fears |            5/9/2020    10263
                                                                                                             Nachawati
73   Yulim         Esther              2:19-cv-13791    No Signed/Verified PFS             Both sanofi and   Bachus &           5/8/2020    10151
                                                                                           505               Schanker, LLC




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